   Case 2:20-cr-00155-MHT-SMD Document 56 Filed 05/31/22 Page 1 of 9



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )       CRIMINAL ACTION NO.
     v.                            )          2:20cr155-MHT
                                   )               (WO)
DIANE MARIE GOOCH                  )

                                OPINION

    Defendant     Diane    Marie       Gooch   pled   guilty   to      one

count of theft of government property, under 18 U.S.C.

§ 641.    At sentencing, the court granted a downward

variance of six months, for a sentence of one day of

incarceration and three years of supervised release,

with the first year of supervised release to be served

in home detention.        The court writes now to explain its

decision regarding the variance.



                                   I.

    Between 2012 and 2016, Gooch stole approximately

$ 158,000 from the Veterans Benefits Administration by

cashing   dependency      and   indemnity      compensation     checks

sent to her grandmother, who, unbeknownst to the VBA,
      Case 2:20-cr-00155-MHT-SMD Document 56 Filed 05/31/22 Page 2 of 9




had died some years earlier.



                                       II.

      In determining a criminal sentence, district courts

generally        proceed      in      three        steps.           First,      they

calculate        the    sentencing           range       according        to     the

sentencing       table     promulgated            by    the     United       States

Sentencing Commission.                 See United States Sentencing

Commission,       Guidelines          Manual      § 1B1.1(a)        (Aug.      2021)

(U.S.S.G.).            Second,     they      look       to    relevant       policy

statements from the Sentencing Commission to determine

whether the specific characteristics of the offender

and/or     the    offense        warrant       a       modification       to    the

sentencing range.          See id. at § 1B1.1(b).                    Third, they

independently          determine       an     appropriate           sentence      in

light of the factors set out in 18 U.S.C. § 3553(a).

See id. at § 1B1.1(c).                  At this final step, if the

court finds it necessary to impose a sentence “outside

the    guidelines       framework,”         the     sentence        is   termed    a

“variance.”             Id.      at     § 1B1.1,             cmt.    (backg'd.).


                                        2
   Case 2:20-cr-00155-MHT-SMD Document 56 Filed 05/31/22 Page 3 of 9




Adjustments to the sentence made at step two, on the

other hand, are referred to as “departures.”                         Id. at

§ 1B1.1, cmt. n.1(F).

    Here, the court found that Gooch’s criminal history

category was I and that her total offense level was 13,

for a sentencing range of 12 to 18 months.                    This range

put her in “Zone C” of the sentencing table, with the

result    that    her    sentence        could      be   satisfied    by   a

combination of imprisonment and community confinement

or home detention, provided that at least half of the

sentence   consisted      of    a    term      of   imprisonment.         See

U.S.S.G. § 5C1.1(d).

    Neither      party    moved      for       a    departure.       Gooch,

however, requested a downward variance to a sentence of

probation.       Gooch based this request, in part, on the

ground   that    a   sentence       of    incarceration      would    cause

substantial hardship to her family.

    In evaluating Gooch’s request for a variance, the

court    consulted      the    policy      statement      issued     by   the

Sentencing      Commission      on       the   appropriate       impact    of


                                     3
      Case 2:20-cr-00155-MHT-SMD Document 56 Filed 05/31/22 Page 4 of 9




family ties and responsibilities in sentencing.                           See

U.S.S.G. § 5H1.6.           Although this statement applies most

clearly in the context of departures, the court found

the reasoning behind it pertinent to its consideration

of a variance.            Indeed, the court has often looked to

the      Commission’s          policy       statements        concerning

departures       when      considering     whether     a    variance       is

appropriate,        and    counsel    should   do     the   same.        See,

e.g., United States v. Ferguson, 942 F. Supp. 2d 1186,

1194 (M.D. Ala. 2013) (Thompson, J.); United States v.

Flowers, 946 F. Supp. 2d 1295, 1299 (M.D. Ala. 2013)

(Thompson, J.); United States v. Todd, 618 F. Supp. 2d

1349, 1353 (M.D. Ala. 2009) (Thompson, J.).

      According to the Commission, a departure based on

the    loss    of   caretaking       or   financial    support      of    the

defendant’s family may be appropriate if the following

circumstances are met:

      “(i) The defendant’s service of a sentence
      within the applicable guideline range will
      cause a substantial, direct, and specific loss
      of essential caretaking, or essential financial
      support, to the defendant’s family.


                                      4
   Case 2:20-cr-00155-MHT-SMD Document 56 Filed 05/31/22 Page 5 of 9




    “(ii) The loss of caretaking or financial
    support   substantially    exceeds   the   harm
    ordinarily incident to incarceration for a
    similarly situated defendant. For example, the
    fact that the defendant’s family might incur
    some degree of financial hardship or suffer to
    some extent from the absence of a parent
    through   incarceration   is   not  in   itself
    sufficient as a basis for departure because
    such hardship or suffering is of a sort
    ordinarily incident to incarceration.

    “(iii) The loss of caretaking or financial
    support is one for which no effective remedial
    or   ameliorative   programs   reasonably   are
    available, making the defendant’s caretaking or
    financial   support   irreplaceable    to   the
    defendant’s family.

    “(iv) The departure effectively will address
    the loss of caretaking or financial support.”

U.S.S.G. § 5H1.6, cmt. n.1(B).

    In    addition     to   these      factors,     the    Commission

advises    the     court      to       consider     the     following

non-exhaustive list of circumstances:

    “(i) The seriousness of the offense.

    “(ii) The involvement in the offense, if any,
    of members of the defendant’s family.

    “(iii) The danger, if any, to members of the
    defendant’s family as a result of the offense.”

Id. at § 5H1.6, cmt. n.1(A).


                                   5
   Case 2:20-cr-00155-MHT-SMD Document 56 Filed 05/31/22 Page 6 of 9




    In     this   case,   the     court      found   that    all    of   the

circumstances      offered      by    Commission      as    justifying     a

reduced sentence based on the loss of caretaking or

financial support were met.



                                     III.

    Gooch and her husband care for six children, four

of whom are their biological children, and two of whom

are Gooch’s nephews.          Two of these children have autism

spectrum    disorder.         The     younger     child     with     autism

spectrum disorder has difficulty verbalizing, is scared

by loud noises, is prone to tantrums, and must wear a

helmet because he bangs his head against the wall when

frustrated.        The    older      child    with    autism       spectrum

disorder is almost completely non-verbal and unable to

perform    basic   caretaking         functions      for    himself,     and

must be home-schooled.           He is also suicidal, and tried

to hang himself as recently as a year ago.

    In     addition      to   the      two    children      with     autism

spectrum disorder, one of Gooch’s children suffers from


                                      6
      Case 2:20-cr-00155-MHT-SMD Document 56 Filed 05/31/22 Page 7 of 9




severe     depression,         anxiety,             and   obsessive-compulsive

disorder.        He worries about Gooch constantly, calling

her    from     school      almost     daily         to    check        that    she    is

alive.          He    is    also    suicidal.              Another           child    has

Tourette Syndrome.            Among his symptoms are outbursts of

violence towards Gooch’s other children.

       These     children      require          a     substantial            amount    of

care.     Gooch and her husband are unable to afford help,

and so Gooch spends her days taking them to and from

appointments with doctors and therapists, calming them

when    they     are       upset,    and       attending          to    their     basic

needs.        Her husband, meanwhile, provides the family’s

sole source of income by working as a mechanic.

       At sentencing, Gooch testified, credibly, that her

husband       could    not    simultaneously               work        and    care    for

their     children.             Caring         for        their        children       is,

essentially, a full-time job.                         Moreover, even if her

husband were able to quit his job as a mechanic, which

the family’s financial circumstances do not currently

allow,     it    is    likely       that       he    would    face       substantial


                                           7
      Case 2:20-cr-00155-MHT-SMD Document 56 Filed 05/31/22 Page 8 of 9




difficulties in caring for their children.                           The younger

child     with     autism    spectrum          disorder        refuses       to    be

touched       by   anyone    but    Gooch,           and   the       child    with

depression, anxiety, and obsessive-compulsive disorder

becomes       distraught     unless       he    is    able      to    remain       by

Gooch’s side almost constantly.                       The other children,

too, require specialized care that Gooch’s husband is

unaccustomed to giving.

       In light of these findings, the court determined

that      requiring        Gooch    to         serve       a     sentence          of

incarceration would cause a substantial, direct, and

specific loss of essential caretaking to her family;

that the loss of caretaking would substantially exceed

the    harm    ordinarily     incident          to   incarceration           for    a

similarly situated defendant; that Gooch’s caretaking

is     irreplaceable        to     her         family;         and    that,        by

substituting        home    detention          for     incarceration,             the

court could prevent the loss of caretaking.                              At the

same time, the court was mindful of the seriousness of

Couch’s offense.            She stole a significant amount of


                                      8
     Case 2:20-cr-00155-MHT-SMD Document 56 Filed 05/31/22 Page 9 of 9




money from the government, over a prolonged period of

time, and deserved to be punished.

     To avoid the extraordinary hardship that a sentence

of incarceration would impose on Gooch’s family, while

still punishing Gooch for her crime, the court imposed

a sentence of one day of incarceration and three years

of    supervised      release,       with    the     first     year      of

supervised     release     to   be    served    in   home    detention.

This, in effect, amounted to a six-month variance; had

the court given Gooch a sentence at the bottom of the

guidelines range, she would have been required to serve

at least six months of incarceration.                  For all of the

reasons discussed above, the court was persuaded that

the sentence it imposed was sufficient, but not greater

than necessary, to satisfy the factors set forth in 18

U.S.C. § 3553(a).

     DONE, this the 31st day of May, 2022.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE




                                     9
